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UNlTED STATES U 8 .:

v. ‘°“'*l(p'Mc/CT!O(¢°PA;D:>

UNDER SEAL
MARTIN GOTTESFELD

ASSENTED-TO MOTION TO EXCLUDE
TIME FROM THE 30-DAY INDICTMENT PERIOD

The United States asks this Court, pursuant to 18 U.S.C. § 3l6l(h), to exclude, from the
30-day period set out in § 3161(b) for filing an indictment or information, the period from March
18, 2016 through April 22, 2016. ln support of this motion, the government states as follows:

l. On February 17, 2016, Martin Gottesfeld was arrested in Miami, Florida on the
charge of conspiracy to damage computers (in violation of 18 U.S.C. § 371), set out in a criminal
complaint, Um`ted Stales v. Martin Gottesfeld, No. l6-MJ-4l l 7-MBB. Gottesfeld made his
initial appearance in U.S. District Court of the Southern District of Florida on February 17.

2. The Defendant waived a detention, removal, and probable cause hearing and was
remanded to the custody of the U.S. Maitians for transportation to the District of Massachusetts.

3. Under the Speedy Trial Act, “[a]ny information or indictment charging the
commission of an offense shall be filed within thirty days from the date on which such individual
was arrested or served with a summons in connection with the charges.” 18 U.S.C. § 3161(b).
Therefore, any information or indictment in this case would need to be filed by March 18.

4. The government seeks an extension of time to file an indictment or information
until April 22, 2016. As grounds, the government states that the parties need additional time to

discuss a possible plea agreement and information That is particularly true because the

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defendant is currently in transit from Florida, in Marshals’ custody, and may not arrive in
Massachusetts for several Weeks. A resolution of this case through a plea agreement and
information would be in the interest of both parties and the interest of justice.

5. Undersigned counsel has conferred with counsel for Defendant, Tor Ekeland, who
assents to this motion

Therefore, the United States asks, pursuant to 18 U.S.C. §§ 3161(h)(1)(E), 3161(h)(1)(F),
and 3161(h)(7)(A), that the Court exclude, from the 30-day period set out in § 3161(b) for
seeking an indictment, the period from March 18, 2016 through April 22, 2016. The ends of
justice Served by granting the requested exclusion outweigh the interest of the public and the
defendant in a speedy tt'ial, under § 3161(h)(7)(A).

Respectfully submitted,

CARMEN M. ORTIZ
UNITED STATES ATTORNEY

By: / b

Davi J D’Addio
Adam J. Bookbinder
Assistant U.S. Attorneys

Date: March 1, 2016

The above motion is GRANTED, and the period from March 18, 2016 through April 22,
2016, is excluded from all Speedy Trial Act calculations

Dated: March _, 2016.

 

UNITED STATES DISTRICT JUDGE

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CERTIF`ICATE OF SERVICE
I hereby certify that a copy of this sealed pleading was served by e-mail on Tor

Ekeland__ counsel for l\/lartin Gottesfeld.

;Q;/ M
Davi . D’

Addio
Assistant U.S. Attomey

Dated: March 1, 2016

